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IN THE UNITED sTATES DISTRICT coURT I'I.EDEY_..%?L¥.._D.G.
FoR THE wESTERN DISTRICT oF TENNESSEE

 

WESTERN DIVISION DSJULZB PH 3= 32
UNITED sTATEs oF AMERICA, MU.S:§§STHCTCGBY
WDOFTN,MEW|'B
vs. No. 05-20075-Ma

RITA WILLIAMSON,

Defendant.

 

ORDER GR.ANTING MOTION TO SEVER AND TRANSFER

 

Before the court is the July 25, 2005, unopposed motion of
defendant Rita Williamson, to sever her from her co-defendants in
this case and to transfer her case to Judge Bernice Donald, who
is presiding over a related case in which this defendant is
indicted. For good cause shown, the motion is granted. The
defendant Rita Williamson is severed from her co-defendants and
her case is hereby transferred to Judge Bernice Donald, in
exchange for an equivalent case. Co-defendants Ronald Hughes and
Mario Parson Will remain before Judge Mays.

It is so ORDERED this q"q 1[`day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

 

This comment entered on the docket sheet in compliance

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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

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Honorable Samuel Mays
US DISTRICT COURT

